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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

CHERYL GREEN, individually
and derivatively on behalf of Hill-
Kelly Dodge, Inc.,

      Plaintiff,

v.                                          Case No. 3:18cv2393-TKW-HTC

MALINDA FIVEASH, HKD
PROPERTIES, INC., and HILL-
KELLY DODGE, INC.,

     Defendants.
_____________________________/

                                      ORDER

      Upon due consideration of the mediator’s report (Docs. 115, 118), the joint

notice of settlement (Doc. 116), and the joint motion to approve settlement

agreement (Doc. 117), is it

      ORDERED that:

      1. The joint motion to approve settlement agreement (Doc. 117) is

         GRANTED, and the settlement agreement attached to the motion is

         approved and the parties shall comply with its terms.

      2. The Clerk shall maintain the joint motion to approve settlement agreement

         and the settlement agreement attached to the motion under seal.
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 3. The parties shall file a joint status report 60 days from the date of this Order

    if a stipulation of dismissal has not been filed by that date.

 DONE and ORDERED this 13th day of December, 2019.


                             T. Kent Wetherell, II
                            T. KENT WETHERELL, II
                            UNITED STATES DISTRICT JUDGE




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